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 CLINTON BROWN, Pro Se
 16821 Edgar Street
 Pacific Palisades, CA 90272
 clinton@atlasinc.solar
 310-487-6453
                      UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA


 CLINTON BROWN,                              CASE NO. 2:22-cv-09203-MEMF-KS
              Plaintiff,                     Notice to the Court
       vs.                                   Judge: Honorable Maame Ewusi-
 CLARK R. TAYLOR, AICP, THE                  Mensah Frimpong
 LOS ANGELES COUNTY                          Magistrate Judge: Karen L.
 DEPARTMENT OF REGIONAL                      Stevenson
 PLANNING,                                   Action Filed: 12/17/2022
              Defendant.                     Action Due: 01/12/2023

      NOTICE TO THE COURT TO PROVIDE CLEAR ORDERS AND
                   ADHERE TO SUCH ORDERS

 NOTICE TO THE COURT, Plaintiff respectfully requests the Court define “all
 future pleadings and correspondence shall be addressed to Gay Roberson” as used
 in Dk. 25 (line 20), Initial Order in Civil Rights Cases. (Emphasis added). L-R
 83.2-11 (Dk. 25, 2, line 20) cannot be found in the local rules. Plaintiff has notified
 the Court of numerous clerical errors in the case via correspondence out of respect
 for the Court, but the Court has now made clear that it prefers such errors to be
 noticed publicly. (Emphasis added).
 The Court's threat of sanctions against the Plaintiff for, in good faith, navigating
 the Court's inconsistent procedures is not in line with the Founders' vision, "It [The
 Judiciary] may truly be said to have neither FORCE nor WILL, but merely


                                 NOTICE TO THE COURT
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 judgment.”1 The judgment of the Court is what the Plaintiff seeks, nothing more or
 nothing less. Instead, it appears that the Plaintiff will have to write the Proposed
 Orders for the Court rather than rely on the Court's wise judgment to move this
 case forward in a speedy, just, and inexpensive manner.




 “I declare (or certify, verify, or state) under penalty of perjury under the laws of the
 United States of America that the foregoing is true and correct.”



 Clinton Brown                                              04/14/2023



 1
     The Federalist No.78, (1788).


                                     NOTICE TO THE COURT
